 Fill in this information to identify the case:

 Debtor 1              Tiana Hunter

 Debtor 2               Eric J Hunter
 (Spouse, if filing)

 United States Bankruptcy Court for the:                   District of   ARIZONA
                                                                               (State)
 Case number 0:19-bk-12341-PS




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                  12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of Creditor:                 Lakeview Loan Servicing, LLC                                    Court claim no. (if known):              10


                                                                                                Date of payment change:
                                                                                                Must be at least 21 days after date             11/01/2020
Last four digits of any number you use to                                                       of this notice
identify the debtor’s account:                            XXXXXX2070
                                                                                                New total payment:
                                                                                                Principal, interest, and escrow, if any         $1,481.53


 Part 1:       Escrow Account Payment Adjustment
1. Will there be a change in the debtor's escrow account payment?


         No

     X Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe

          the basis for the change. If a statement is not attached, explain why:
               Current escrow payment:                 $308.49                               New escrow payment:             $318.45



 Part 2:         Mortgage Payment Adjustment

2. Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
   variable-rate account?

     X No

        Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not

        attached, explain why:
               Current interest rate:                                                    %   New interest rate:                                                %
               Current principal and interest payment:                   $                   New principal and interest payment                    $


Part 3:         Other Payment Change

3. Will there be a change in the debtor's mortgage payment for a reason not listed above?

     X No

         Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement
              (Court approval may be required before the payment change can take effect.)

               Reason for change:

               Current mortgage payment            $                                         New mortgage payment           $




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Debtor 1      Tiana Hunter                                                                            Case number (if known) 0:19-bk-12341-PS
              First Name      Middle Name       Last Name



 Part 4:     Sign Here
The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number if different from the
notice address listed on the proof of claim to which this Supplement applies.
Check the appropriate box.
      I am the creditor.


  X I am the creditor's authorized agent.
    (Attach copy of power of attorney, if any.)



I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my knowledge,
information, and reasonable belief.



  X      /s/ Nathan F. Smith                                                                 Date     09/22/2020
         Signature


                                                                                                      Attorney for LoanCare, LLC servicer
Print:               Nathan F. Smith                                                          Title   for Lakeview Loan Servicing, LLC
                     First Name                      Middle Name         Last Name


Company              Malcolm ♦ Cisneros, A Law Corporation

Address              2112 Business Center Drive
                     Number                 Street



                     Irvine                                              CA          92612
                     City                                                State       Zip



Contact phone 949.252.9400                                                                   Email




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                                                PROOF OF SERVICE


I hereby certify that on September 22, 2020, I have served a copy of the foregoing Notice and all attachments to the following
by first class mail or electronically via the Court's ECF system:


DEBTOR(S)
Tiana Hunter
1936 E Havasu Lake Dr
Fort Mohave, AZ 86426

Eric J Hunter
1936 E Havasu Lake Dr
Fort Mohave, AZ 86426

DEBTOR'S ATTORNEY
Thomas Adams McAvity
Phoenix Fresh Start Bankruptcy Attorneys
4131 Main Street
Skokie, IL 60076-2780

CHAPTER 13 TRUSTEE
Russell Brown
3838 North Central Avenue
Suite 800
Phoenix, AZ 85012

Date: September 22, 2020                                               /s/ Diep Quach
                                                                       Diep Quach, Assistant Paralegal
                                                                       MALCOLM ♦ CISNEROS, A Law Corporation
                                                                       2112 Business Center Drive, 2nd Floor
                                                                       Irvine, CA 92612
                                                                       (949) 252-9400
                                                                       (949) 252-1032 (FAX)
                                                                       dquach@mclaw.org




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